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                             Exhibit 3
                 Case 1:19-md-02875-RMB-SAK                        Document 2663-4     Filed 02/26/24             Page 2 of 6 PageID:
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                       Prinston Pharmaceutical Inc Issues Voluntary Nationwide Recall of Valsartan and Valsartan
                       HCTZ Tablets Due to detection of a Trace Amount of Unexpected Impurity, N-
                       nitrosodimethylamine (NDMA) in the Products
                      Contact
                      Solco Customer Service at 1-866-931-9829, Option 5
                       or email or     fax to: customerservice @solcohealthcare.com; 1-866-931-0709, for Product Return

                       Press Release      —
                                               Valsartan and Valsartan HCTZ Tablets Recall

                       FOR IMMEDIATE RELEASE CRANBURY, NEW JERSEY, July 13, 2018 Prinston Pharmaceutical
                                                          -                                         --




                       Inc. dba Solco Healthcare LLC. is recalling all lots of Valsartan Tablets, 40 mg, 80mg, 160mg,
                       and 320mg; and Valsartan-Hydrochlorothiazide Tablets, 80mg/12.5mg,
                       160mg/25mg, 320mg/12.5mg, and 320mg/25mg to the retail level. This product recall is due to
                       the detection of a trace amount of an unexpected impurity, N-nitrosodimethylamine (NDMA),
                       made by the manufacturer Zhejiang Huahai Pharmaceutical Co. Ltd. that is used in the
                                                              —                                          --




                       manufacture of the subject product lots. This impurity has been classified as a probable human
                       carcinogen as per International Agency for Research on Cancer (IARC) classification.
                       The products are indicated for the treatment of hypertension.

                      The exposure to the impurity N-nitrosodimethylamine (NDMA) that was detected in valsartan
                      product line presents an unacceptable carcinogenic risk to the intended patient population. To
                      date, Prinston Pharmaceutical Inc. has not received any reports of adverse events related to
                      this recall.

                           Product                 NDC Code           Lot Number        Expiry Dates                  Distribution Date
                           VALSARTAN TABLETS
                                                   43547-367-03       All lots          From Jul 18 to Jan 20         Oct 2015   —

                                                                                                                                     Jun 2018
                           40MG 30CT
                           VALSARTAN TABLETS
                                                   43547-368-09       All lots          From Jul 18 to Jan 20         Oct 2015 Jun 2018
                                                                                                                                 —




                           80MG 90CT
                           VALSARTAN TABLETS
                                                   43547-369-09       All lots          From Jul 18 to Jan 20         Oct 2015   —
                                                                                                                                     Jun 2018
                           160MG
                           VALSARTAN TABLETS
                                                   43547-3670-09      All lots          From Jul 18 to Jan 20         Oct 2015   —

                                                                                                                                     Jun 2018
                           320MG S0CT
                           VALSARTAN/HCTZ
                           80MG/12.5MG 90CT        43547-311-09       All lots          From Jul 18 to Jan 20         Jun 2016   —

                                                                                                                                     Jun 2018
                           TABLETS
                           VALSARTAN/HCTZ
                           160MG/12.5MG 90CT       43547-312-09       All lots          From Jul 18 to Jan 20         Jun 2016   —

                                                                                                                                     Jun 2018
                           TABLETS
                           VALSARTAN/HCTZ
                           160MG/25MG 90CT         43547-313-09       All lots          From Jul 18 to Jan 20         Jun 2016   —

                                                                                                                                     Jun 2018
                           TABLETS
                           VALSARTAN/HCTZ
                           320MG/12.5MG 90CT       43547-314-09       Alllots           From Jul 18 to Jan 20         Jun 2016   —

                                                                                                                                     Jun 2018
                           TABLETS
                           VALSARTAN/HCTZ
                           320MG/25MG 90CT         43547-315-09       All lots          From Jul 18 to Jan 20         Jun 2016   —

                                                                                                                                     Jun 2018
                           TABLETS




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                       The lot number and expiry date information can be found on the manufacturer's unit (see
                       photographs below of packaged product bottle labels).
                       Valsartan 40 mg strength, 30 ct bottle



                                                                                                  Valsartan
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                       Valsartan 320 mg strength, 90 ct bottle




CONFIDENTIAL INFORMATION                                                                                                                                                SOLCO00024227
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                       Valsartan HCTZ 80 mg/12.5mg strength, 90 ct bottle

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                       Valsartan HCTZ 160 mg/25mg strength, 90 ct bottle




CONFIDENTIAL INFORMATION                                                                                                                                            SOLCO00024228
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                       Valsartan HCTZ 320 mg/25mg strength, 90 ct bottle

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                       Retail pharmacies in possession of any unused products: Valsartan Tablets, 40 mg, 80mg,
                       160mg, and 320mg; and Valsartan-HCTZ Tablets, 80mg/12.5mg, 160mg/12.5mg, 160mg/25meg,
                       320mg/12.5mg, and 320mg/25mg, within expiry dates from Jul 2018 to Jan 2020 should
                       immediately return the product by following the instructions below:




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                            e   Pharmacists and wholesalers are asked to check their inventories, segregate any
                                impacted inventory.
                            e   Please contact Solco Customer Service at 1-866-931-9829, Option 5, Monday through
                                Friday (9am to 5pm EST) or email or fax to: customerservice@solcohealthcare.com; 1-
                                866-931-0709, for the Product Return.
                            e   Acall tag, a pre-printed, pre-paid return label will be provided to you for product
                                return; return is free of charge.
                            e   Return products to:
                                                      DLSS (Dohmen Life Science Services)
                                                      Attn: Returns Department
                                                      4580 S. Mendenhall, Memphis, TN 38141

                       Solco is notifying its distributors and customers by letter and email and is arranging for return
                       of all recalled products. Pharmacies and wholesalers that received the impacted products will
                       receive a letter as well as a copy of this press release with their recall notification information.

                       If you have any questions regarding this recall, please call 1-866-931-9829, Option 5, between
                       the hours of 9:00 a.m. to 5:00 p.m. EST Monday through Friday. Consumers should contact
                       their physician or healthcare provider if they have experienced any problems that may be
                       related to using this product. Additional information regarding this recall affected products’ lots
                       and expiry dates can be found
                       at   http://www.solcohealthcare.com/uploads/news/ValsartanHCTZRecallAffactedLots.pdf or to
                       download at http://www.solcohealthcare.com/uploads/news/ValsartanHCTZRecallAffactedLots.xlsx

                       Adverse reactions or quality problems associated with the use of this product may be reported
                       to FDA's MedWatch Adverse Event Reporting program either by phone, on line, by regular mail
                       or by fax.

                               Complete and submit the report Online: www.fda.gov/medwatch/report.htm
                           e
                               Regular Mail or Fax: Download form www.fda.gov/MedWatch/getforms.htm or call 1-
                               800-332-1088 to request a reporting form, then complete and return to the address on
                               the pre-addressed form, or submit by fax to 1-800-FDA-0178.

                       This Product Recall is being made with the knowledge of the United States Food and Drug
                       Administration (FDA).




CONFIDENTIAL INFORMATION                                                                                                       SOLCO00024230
